          Case 1:18-cv-01995-APM Document 74 Filed 04/25/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MARION COSTER, et al.,              *
                                    *
            Plaintiffs,             *
                                    *               Civil Action No. 18-CV-1995-APM
      v.                            *
                                    *
STEVEN F. SCHWAT, et al.,           *
                                    *
            Defendants,             *
                                    *
___________________________________ *

 CONSENT MOTION TO MODIFY SCHEDULING ORDER & FOR CONTINUANCE
           OF MAY 12, 2022 MOTION TO COMPEL HEARING

       To accommodate the prior commitments of new counsel for Nominal Defendant UIP

Companies, Inc., David Fensterheim, who is entering an appearance on the date of this Motion,

and to allow him time to gain a full understanding of the litigation, Defendants Steven Schwat,

Peter Bonnell, Stephen Cox, Schwat Realty LLC, Bonnell Realty LLC, and Cox Realty LLC (the

“Individual Defendants”) request, with Plaintiffs’ consent, that the Court continue the hearing on

Plaintiffs’ Motion to Compel (ECF 49) currently set for May 12 at 1:30pm, until June 1, 2022 or

later (the parties are also happy to provide additional dates, or to confer with Chambers regarding

the Court’s availability).

       The Individual Defendants further request, with Plaintiffs’ consent, the following

modifications to the following case deadlines set forth in the Court’s April 22, 2022 Scheduling

Order (ECF 73):

           •   Close of Fact Discovery – August 31, 2022 (currently 8/01/2022)

           •   Joint Status Report Re Discovery Status – September 7, 2022 (currently

               8/08/2022)
        Case 1:18-cv-01995-APM Document 74 Filed 04/25/22 Page 2 of 3




          •   Plaintiffs’ Expert Reports & Rule 26(a)(2) Disclosures – September 28, 2022

              (currently 8/29/2022)

          •   Defendants’ Expert Reports & Rule 26(a)(2) Disclosures – November 28, 2022

              (currently 10/27/2022)

          •   Plaintiff’s Rebuttal Expert Reports & Rule 26(a)(2) Disclosures – December

              12, 2022 (currently 11/10/2022)

          •   Close of Discovery – December 28, 2022 (currently 11/28/2022)

          •   Post-Discovery Status Conference – January 3, 2023 (currently 12/02/2022).

                                      *   *         *    *

      The Individual Defendants note this is the sixth request for modification of the Court’s

Scheduling Order.



 Dated: April 25, 2022                        Respectfully submitted,


                                              /s/ William C. Miller
                                              Deborah B. Baum (D.C. Bar No. 393019)
                                              William C. Miller (D.C. Bar No. 187447)
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                                              Counsel for Defendants Steven Schwat, Peter
                                              Bonnell, Stephen Cox, Schwat Realty LLC,
                                              Bonnell Realty LLC, and Cox Realty LLC.




                                              -2-
          Case 1:18-cv-01995-APM Document 74 Filed 04/25/22 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the electronic court filing system, which will provide notification of

such filing to all counsel of record.

                                                     /s/ William C. Miller
                                                     William C. Miller




                                               -3-
